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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

 LORENZO REESE,                                  )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )    Case No. 2:19-cv-00702-RDP-SGC
                                                 )
 ANGELA MIREE, et al.,                           )
                                                 )
        Defendants.                              )

                                 MEMORANDUM OPINION
       The Magistrate Judge entered a Report and Recommendation on March 4, 2020,

recommending this action be dismissed without prejudice for failing to state a claim upon which

relief can be granted, pursuant to 28 U.S.C. § 1915A(b). (Doc. 6). Although the Magistrate Judge

advised Plaintiff of his right to file specific written objections, no formal objections have been

received by the court. Plaintiff has, however, filed a Motion to Amend Complaint After Dismissal,

which the court construes as objections to the Report and Recommendation. (Doc. 9). Plaintiff’s

objections, which amount to repeating the allegations in his complaint, are OVERRULED.

       To the extent he seeks to assert a retaliation claim against a new party, Plaintiff does not

allege any new facts that would warrant such an amendment. Accordingly, the court DENIES

Plaintiff’s Motion to Amend Complaint After Dismissal. (Doc. 9).

       Having carefully reviewed and considered de novo all the materials in the court file,

including the Report and Recommendation and Plaintiff’s objections, the court ADOPTS the

Magistrate Judge’s Report and ACCEPTS the Recommendation. Therefore, in accordance with

28 U.S.C. § 1915A(b), this action is due to be dismissed without prejudice for failing to state a

claim upon which relief can be granted.

       A Final Judgment will be entered.
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DONE and ORDERED this September 23, 2020.



                              _________________________________
                              R. DAVID PROCTOR
                              UNITED STATES DISTRICT JUDGE




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